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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA
CRIMINAL NO. 21-CR-087-TJK

v.
: VIOLATIONS:

MICHAEL SPARKS : 18U.8.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)

and : 18 U.S.C. § 231(a)@3), 2

: (Civil Disorder)

JOSEPH HOWE, : 180U.8.C. § 111(a)(D, 2

:  (Assaulting, Resisting, or Impeding
Defendants. : Certain Officers)

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers) °

18 U.S.C. § 1361, 2

(Destruction of Government Property)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)
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(Act of Physical Violence in the Capitol
Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, MICHAEL
SPARKS and JOSEPH HOWE, attempted to, and did, corruptly obstruct, influence, and impede
an official proceeding, that is, a preceeding before Congress, specifically, Congress’s certification
of the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, MICHAEL SPARKS,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE,

committed and attempted to commit an act to obstruct, impede, and interfere with a law
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enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3) and 2)

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, Officer
A.C., an officer from the United States Capitol Police, while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 111(a)(1) and 2)

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, while such person
was engaged in and on account of the performance of official duties, and where the acts a violation
of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE, did
willfully injure and commit depredation against property of the United States, and of any
department and agency thereof, and _ property which has been and is being manufactured and
constructed for the United States, and any department or agency thereof, that is, a door, causing
damage in an amount more than $1,000.

(Destruction of Government Property and Aiding and Abetting, in violation of Title
18, United States Code, Section 1361 and 2)

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its erouiite, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a fire
extinguisher and a baton.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
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conduct of Government business and official functions and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a fire extinguisher and a baton.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT NINE

On or about January 6, 2021, within the District of Columbia, JOSEPH HOWE, did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting and, during and in relation to the offense, did use and carry a deadly and dangerous

‘weapon, that is, a fire extinguisher and a baton. °

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and
(b)(1)(A))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, MICHAEL SPARKS, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, MICHAEL SPARKS, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
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restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, MICHAEL SPARKS and
JOSEPH HOWE, willfully and knowingly engaged in disorderly and disruptive conduct within
the United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT THIRTEEN
On or about January 6, 2021, in the District of Columbia, JOSEPH HOWE, willfully and
knowingly engaged in an act of physical violence within the United States Capitol Grounds and
any of the Capitol Buildings.

(Act of Physical] Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT FOURTEEN
On or about January 6, 2021, within the District of Columbia, MICHAEL SPARKS and

JOSEPH HOWE, willfully and knowingly paraded, demonstrated, and picketed in any United
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States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))
A TRUE BILL:

FOREPERSON.
Meee I) Panta

Attorney of the United States in
and for the District of Columbia.
